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                         EXHIBIT 8

Lowcountry Alliance for Model Communities
                         Declaration
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